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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


COALITION FOR HUMANE IMMIGRANT
RIGHTS, et al.,

               Plaintiffs,                              Case No 25-cv-00872.

               v.

Noem, et al.

               Defendants.




        DECLARATION OF ANGELICA SALAS, EXECUTIVE DIRECTOR OF
        THE COALITION FOR HUMANE IMMIGRANT RIGHTS (“CHIRLA”)

       I, Angelica Salas, upon my personal knowledge, hereby declare as follows:

       1.      I am the Executive Director of the Coalition for Humane Immigrant Rights

(“CHIRLA”). I have held this position since 1999. In this capacity, I oversee all of CHIRLA’s

program areas and am responsible for strategic planning and CHIRLA’s annual budget.

       2.      CHIRLA is a nonprofit organization headquartered in Los Angeles, California,

with ten offices throughout California and a national policy office in Washington, D.C. CHIRLA

was founded in 1986 and its mission is to advance the human and civil rights of immigrants and

refugees and ensure immigrant communities are fully integrated into our society with full rights

and access to resources.

                        CHIRLA’s Mission, Membership, and Services

       3.      CHIRLA’s mission is to ensure that immigrant communities are fully integrated

into our society with full rights and access to resources. CHIRLA’s first director was Father Luis

Olivares, the pastor at Our Lady Queen of Angels Church. As a leading voice of the Sanctuary

movement, Olivares used his church to protect refugees fleeing human rights abuses in Central
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America in the 1980s. Since its founding in 1986, CHIRLA has continued to advocate for

immigrant rights, organizing, educating, serving, and defending immigrants and refugees in Los

Angeles and throughout California.

       4.      Today, CHIRLA is the largest statewide immigrant rights organization in

California, with fourteen unique departments and over 185 staff members who help provide a

range of services that reach tens of thousands of Californians each year. For example, over the

last three years, CHIRLA’s education programs have reached over 820,000 people through more

than 7,800 events, and its legal department has assisted approximately 30,000 people. In

furtherance of its mission, CHIRLA handles the full spectrum of needs of those primarily

residing within low-income immigrant communities in an area with very high costs of living and

in areas of California that have long been underserved.

       5.      CHIRLA is a membership-based organization with approximately 51,279

members across California, about 38,926 of whom reside in Los Angeles County. CHIRLA is

funded, in part, by its members. The fee for an individual membership starts at $25, and families

may become members for $60.

       6.      CHIRLA’s membership is diverse, and includes U.S. citizens, non-U.S. citizens

with lawful status, and non-U.S. citizens without lawful status. Many of our members belong to

mixed-status families—that is, families consisting of both individuals with citizenship or lawful

immigration status and individuals without. Most of our members are low-income. CHIRLA

educates its membership as well as our broader community through know-your-rights trainings,

workshops, social media and educational literature about a variety of social services and benefits,

including immigration law, financial literacy, workers’ rights, and civic engagement.

       7.      In 2012, CHIRLA launched its legal services program to support its members and




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others in the community in seeking the benefits and protections of Deferred Action for

Childhood Arrivals (“DACA”). Since then, we have expanded the program, first by representing

clients in applying for permanent residence and citizenship as well as other affirmative

applications before U.S. Citizenship and Immigration Services (“USCIS”), and then expanding

in 2017 to representing individuals in removal proceedings in immigration court. We now have

three main components within our Department of Legal Services: 1) Programs and Subcontract

Administration; 2) Worker Rights and Labor; and 3) Immigration Legal Programs, with over

sixty staff members across the components. Subcontract Administration oversees funding from

the California Department of Social Services, the County of Los Angeles, and the City of Los

Angeles, and in this way helps ensure wider access across Los Angeles and the State of

California to legal services. During the past three years, CHIRLA has conducted nearly 30,000

legal consultations and has assisted with hundreds of immigration matters, including I-130

family petitions and attendant adjustments of status, Military Parole in Place cases, consular

processes, as well as humanitarian-based applications including asylum, U visas, and Special

Immigrant Juvenile Status (“SIJS”) and Violence Against Women Act (“VAWA”) petitions.

       8.      There is overlap between our membership and the clients that our legal services

program serves. Some members join CHIRLA first as members and then become legal services

clients due to need, while others are clients before they become members.

       9.      Part of the CHIRLA Department of Legal Services, the Removal Defense Unit

(RDU), serves immigrants during their initial immigration court proceedings as well as

occasionally on appeal. RDU has recently experienced a large increase in consultation requests

and due to the Trump Administration’s ongoing efforts to enact its mass deportation agenda,

RDU is adapting and expanding into assisting detained clients including those facing expedited




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removal.

       10.     CHIRLA’s programs also include a hotline where individuals—including

members, clients, and community members—can call with questions. The assistance hotline that

CHIRLA operates fields on average 15,000 calls per year. Given CHIRLA’s deep community

ties and longstanding legal services programs, CHIRLA is often a first point of contact for

individuals seeking information about recent policy changes impacting immigrants.

       11.     In 2023, in response to a growing need, CHIRLA formed a new Department of

Humanitarian Assistance. We were experiencing the arrival of a growing number of recent

immigrants to Los Angeles, most of whom needed logistical and legal support. The need became

particularly acute when the Governor of Texas, Greg Abbott, began sending buses filled with

recent arrivals to cities around the country, including Los Angeles. CHIRLA began working with

partner organizations and the City of Los Angeles to assist the newcomers and their families and

help them get settled. The vast majority of these new arrivals were paroled into the U.S.,

primarily via the CBP One application process, and thus are currently at risk of being detained

and subjected to expedited removal as has been happening at immigration courts around the

country. CHIRLA also has a dedicated program that helps Afghan nationals who arrived both via

Operation Allies Welcome and CBP One.

       12.     CHIRLA reaches its members and community members through in-person

meetings and events throughout California and through its social media and other virtual

platforms, including a Facebook Live series “CHIRLA en tu Casa,” CHIRLA TV YouTube

channel, and TikTok. Organizers, along with legal and communications staff, work

collaboratively to prepare materials and content for these events that are geared towards

members and non-members alike.



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       13.     In addition to its education initiatives and legal services, CHIRLA engages in

policy advocacy efforts on behalf of its members at the local, state, and national levels. For

example, a recent CHIRLA campaign focused on advocacy for stronger health and safety

protections for domestic workers. This campaign began in response to COVID-19, where

domestic workers were at the forefront of the pandemic. Since then, CHIRLA has been

supporting state legislation that would remove an exemption that denies domestic workers the

same health and safety protections as other workers.

                                 Harm to CHIRLA’s Members

       14.     On January 23, 2025, the U.S. Department of Homeland Security (“DHS”) issued

a memorandum authorizing the revocation of parole status for individuals who had been legally

allowed to enter the United States and further authorizing DHS to subject them to expedited

removal. Since that date, DHS has taken further action to implement that directive and

aggressively target parole beneficiaries for expedited removal, including prematurely terminating

grants of parole for individuals who came through the processes for Cubans, Haitians,

Nicaraguans, and Venezuelans (“CHNV parole”) and arresting individuals who were paroled

into the country through CBP One after their immigration court hearings. This has spread fear

and confusion in CHIRLA’s membership and the immigrant community generally. The

expedited removal process has minimal procedural safeguards and would expose our members to

swift, summary deportation, depriving them of the opportunity to seek relief for which they are

eligible and uprooting the lives that they and their families have created in the United States.

       15.     CHIRLA has many members who have already been, or are likely to be, directly

harmed by the administration’s attempt to end humanitarian parole protections and expose

paroled individuals to expedited removal. We have members specifically who were granted




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parole through either CBP One or the parole processes for Cuba, Haiti, Nicaragua, and

Venezuela (“CHNV parole”) and who could be placed in expedited removal proceedings under

the Trump administration’s current policies.

       16.     Specifically, CHIRLA has members who were granted parole through the CBP

One application and are currently in section 240 removal proceedings, who must appear in

immigration court for regular hearings. Many of these members fear that they will be

apprehended at immigration court and summarily removed from the country because they have

heard of the exact same thing happening to others. CHIRLA also has members whose parole was

prematurely terminated and who have been in the country for less than two years, including some

who do not have any pending applications for asylum or other immigration relief. CHIRLA

members are well aware of the recent significant increase in immigration enforcement at

courthouses across the country and in and around Los Angeles. The stepped-up immigration

enforcement underlines how exposed CHIRLA members are to the administration’s drive to

terminate individual grants of parole and subject paroled individuals to expedited removal.

       17.     For example, CHIRLA member E.I.R.M. entered the U.S. with inspection in

November 2023 and was paroled into the U.S. via the CBP One parole program. He received a

Notice to Appear and attended all his master calendar hearings. On March 7, 2025, he was

arrested at a CBP checkpoint and detained despite his parole still being valid, and he is now

being processed for expedited removal. While in detention, he was given a credible fear

interview and given a negative credible fear finding. His attorney asked an immigration judge to

review the determination, and although such reviews are supposed to be held within seven days

of a negative determination, more than a month has passed and they have not received any

review, nor a transcript of the interview. E.I.R.M.’s mental state has declined due to his detention




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and the fact that he does not know how much longer it will last. He went through the entire

immigration process in complete compliance with all the rules set out for him, and now he has

been separated for months from his family and fiancée, unsure of when, or even if, he will get to

see them again. Additionally, he faces harm if he were to be forcibly returned to Mexico, where

he and his brother have received death threats from a cartel that the U.S. Government has

designated a foreign terrorist group and a transnational criminal organization.

       18.     Other CHIRLA members who entered the U.S. during the last two years and were

paroled in via the CBP One parole program have expressed significant fears of being detained at

court hearings, based on footage in the news media of immigration agents arresting people at

courthouses. These members also reported a fear of being detained, a fear of harm should they be

deported to countries that they fled due to dangers they faced there, and a fear of being separated

from their families if they are detained and/or deported. Additionally, some members fear the

loss of income to their households if their detention or deportation disrupts their ability to work

and hurts their capacity to earn income at the level needed to support their households.

       19.     For CHIRLA’s members, as well as their families and communities, the use of

and threat of expedited removal against lawfully paroled individuals is causing widespread fear

and uncertainty. This fear has increased significantly for CHIRLA members as a result of the

recent sweeping ICE raids in Los Angeles, which have already resulted in the arrests of many

noncitizens and has compelled CHIRLA members to refrain from going about their daily lives.

       20.     In Los Angeles County, home to nearly 40,000 CHIRLA members, any sense of

normalcy has been shattered by a high-profile blitz by federal immigration authorities on

workplaces and other sites central to people’s daily lives. Immigrant Angelenos are inundated

by reports of warrantless surprise raids, of their community members snatched up by masked




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men, loaded into unmarked vans, and spirited away to unknown locations. Often, family

members and lawyers representing or seeking to represent these individuals are unable to

ascertain their whereabouts, adding to people’s sense of grave danger. And reports are reaching

the immigrant community of detained people being deported within a day or two of their arrest,

without a hearing in front of an Immigration Judge or other forms of due process. For all these

reasons, many of CHIRLA's members are currently living through a period of intense fear,

anxiety and dread.

       21.     CHIRLA has been receiving many inquiries from members, clients, and

community members who were granted parole and are now concerned about that status being

revoked and being subject to expedited removal. Since the widespread courthouse arrests began

around May 20, 2025, the number of inquiries has increased and CHIRLA’s Humanitarian

Services department is now facing a wave of inquiries from paroled clients who have received

termination notifications via email and are very fearful that they will be detained at their

upcoming immigration court hearings.

       22.     CHIRLA has already identified several existing clients as well who are vulnerable

to the use of expedited removal against parolees. At least four of CHIRLA’s existing clients and

an additional five children in their families face the risk of expedited removal when they attend

their scheduled court hearings in the next few months.

       23.     For example, one of CHIRLA’s clients and his two children fled organized crime

in their home country after relocating internally when their tormentor was released after serving

three years out of a 20-year sentence. After all semblance of government protection vanished,

and their police report was ignored, they fled the country and entered the U.S. using CBP One. In

a few months, the family has a hearing in immigration court, and they fear their case will be




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